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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



     FINANCIAL INFORMATION
     TECHNOLOGIES, LLC,

           Plaintiff,

     v.                                                 CASE NO. 8:17-cv-190-T-23SPF

     ICONTROL SYSTEMS, USA, LLC,

           Defendant.
     __________________________________/


                                             ORDER

           iControl Systems moves (Doc. 286) to stay execution on Fintech’s $5.7

     million judgment. iControl proposes a stay until thirty days after disposition of

     Fintech’s renewed motion (Doc. 284) for a permanent injunction. iControl insists

     that the prospect of an injunction prevents iControl’s obtaining from a lender or

     surety a bond or equivalent security under Rule 62, Federal Rules of Civil Procedure,

     because the prospective injunction “significantly affect[s] the value of the company.”

     (Doc. 286 at 3) The requested stay, asserts iControl, allows the defendant “to obtain

     a bond or other security to enable [the company] to pursue an appeal of the

     judgment.” (Doc. 286 at 3)

           Whether to grant a stay without bond or equivalent security under Rule 62

     rests “strictly within the judge’s discretion.” United States v. O’Callaghan, 805 F.
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     Supp. 2d 1321, 1325 (M.D. Fla. 2011); 12 Moore’s Federal Practice - Civil § 62.03

     (2020) (“The court, within its discretion, may dispense with the posting of a

     security.”) Typical considerations governing issuance of a stay without bond include

     “whether the judgment debtor is sufficiently solvent to ‘facilely respond to a money

     judgment,’” whether collection is complex, and whether collection after expiration of

     the stay appears reasonably prompt. O’Callaghan, 805 F. Supp. 2d at 1326 (M.D.

     Fla. 2011); Dillon v. City of Chicago, 866 F.2d 902, 904–05 (7th 1988); Moore’s,

     Civil § 62.03 (describing the grounds). Another consideration is whether the

     judgment is “extremely large” and effectively prevents the acquisition of a bond.

     Columbia Cas. Co. v. Ker, Inc., 2009 WL 10673292, at *1 (M.D. Fla. 2009) (citing

     cases).

               “iControl is not seeking a full stay pending appeal without bond.” Doc. 286

     at 4) Rather, iControl requests an interim stay without bond pending the disposition

     of a post-judgment motion. Slip N’ Slide Records, Inc. v. TVT Records, LLC, 2007 WL

     1098751, at *3 (S.D. Fla. 2007) (suggesting the adequacy of a stay pending resolution

     of a post-judgment motion). In the present circumstance, a brief stay appears not to

     materially and adversely affect collection, and iControl commits to timely respond to

     Fintech’s recently undertaken discovery in aid of execution. (Doc. 286 at 1)

     Although Fintech argues that iControl’s inability to secure bond “demonstrate[s] that

     Fintech’s ability to collect the judgment is in jeopardy,” (Doc. 290 at 4) the

     formidable size of the judgment commends flexibility in granting an interim stay



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     without bond because uncertainty (the outcome of the permanent injunction, among

     other things) might affect the amount or form of security iControl can obtain. On

     balance, to facilitate iControl’s acquisition of a bond, an interim stay is warranted.

           Also, iControl “asks the Court to determine the amount of the bond or other

     security so that iControl can finalize negotiations with its lender.” (Doc. 286 at 5)

     No binding formula exists for calculating bond, although “a judgment debtor posting

     a bond must typically post a bond for more than the value of the judgment.”

     O’Callaghan, 805 F. Supp. at 1325 n.3 (M.D. Fla. 2011). In state courts throughout

     Florida, a party can stay execution pending appeal by a bond “equal to the principal

     amount of the judgment plus twice the statutory rate of interest on judgments on the

     total amount on which the party has an obligation to pay interest.” Rule 9.310(b)(1),

     Florida Rules of Appellate Procedure. iControl proposes a bond of $6,270,000,

     which roughly equals the judgment amount plus twice the October 2020 annual

     interest rate prescribed in Florida.1 Further, the proposed bond mirrors the rate set




             1
               Florida lists current and recent judgment interest rates at:
     https://www.myfloridacfo.com/Division/AA/LocalGovernments/Current.htm




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     by other Florida federal courts. S.D. Fla. L.R. 62.1 (suggesting a bond for the full

     amount of the judgment plus ten percent interest). The similarity between iControl’s

     proposal and the amount typically demanded in Florida state and federal courts

     confirms that $6,270,000 is a reasonable bond.

           The defendant’s motion (Doc. 286) to stay execution of the judgment is

     GRANTED-IN-PART. At any time, iControl can secure a stay under Rule 62 by

     depositing with the clerk a $6,270,000 bond or equivalent security. To afford

     iControl time to procure this bond and to allow Fintech the opportunity to assess

     iControl’s ability to satisfy the judgment, execution and levy are STAYED through

     OCTOBER 30, 2020.

           Unless iControl earlier deposits a sufficient bond or equivalent security, not

     later than OCTOBER 23, 2020, (1) iControl must file a verified statement of

     iControl’s ability to satisfy the judgment, and (2) Fintech must submit a status report

     on discovery in aid of execution.

           ORDERED in Tampa, Florida, on September 15, 2020.




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